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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

 

SONY MUSIC ENTERTAINMENT, ef ai,
Plaintiffs,

Vv.

Case No. 1:18-ev-00950-LO-JFA

COX COMMUNICATIONS, INC., ef al.,

Defendants.

 

 

MEMORANDUM _IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL

 
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Plaintiffs submit this memorandum of law in support of their motion to compel discovery
from Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”). Plaintiffs
request an order compelling Cox to produce: (1) for 2011 to the present, documents sufficient to
identify, on a subscriber-by-subscriber basis, by quarter and year, revenue attributable to the
specific Cox subscribers who were the subject of Plaintiffs’ copyright infringement notices; (2)
for 2010 through 2014, emails and communications concerning Cox’s responses to, handling of,
and attitude towards infringement notices; and (3) for 2011 through 2014, records regarding third-
party copyright infringement notices involving the same Cox subscribers who were the subject of
Plaintiffs’ copyright infringement notices.

ARGUMENT

The Court’s intervention is needed to prevent Cox from distorting the merits of the case by
withholding relevant discovery. Plaintiffs have patiently and persistently tried to obtain this
discovery. The parties have discussed many of these issues dating back to Cox’s objections to
Plaintiffs’ first discovery requests served in November 2018. Cox has either flatly refused or failed
to respond with a clear and definitive statement of what it is willing to provide. Plaintiffs cannot
let these issues remain unresolved, or the clock will run out on discovery and Plaintiffs’ ability to
prepare their case.

I, Revenue Information for Infringing Subscribers

Cox should be ordered to produce financial information detailing the revenue it received,
from 2011 to present, by quarter and year, from each subscriber who was the subject of an
infringement notice from Plaintiffs, Cox’s evolving objections are an insufficient basis for it to

withhold the requested revenue information.

 
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a. Plaintiffs’ Requests and Cox’s Response

On November 19, 2018, Plaintiffs served the following discovery requests:

Request No. 57: Documents sufficient to show your total and average revenue and profit

attributable to Subscribers about whom you received an Infringement Notice, including the

per Subscriber revenue and profit by quarter and year, from January 1, 2010 to present.

Interrogatory No. 10: Identify the revenues and profits attributable to Subscribers about

whom you received Infringement Notices, including the overall revenue and profit, and the

per Subscriber revenue and profit by quarter and year.!

Cox responded to RFP 57 on December 4, 2018, agreeing to produce “Documents
sufficient to show the total and average revenue and profit during Plaintiffs’ Claim Period that was
attributable to subscribers who were the subject of a notice of claimed infringement submitted on
Plaintiffs’ behalf for Plaintiffs’ works in suit during Plaintiffs’ Claim Period, to the extent Cox
finds such documents within its possession, custody, or control after undertaking a reasonable and
diligent search.” (Ex. A.? In response to Interrogatory No. 10, Cox referred to RFP 57, objected
“to the extent” the interrogatory sought expert discovery prematurely or beyond the rules, and
reserved the right to produce documents. (Ex. B.)

In the weeks that followed, Plaintiffs pressed Cox to explain what it would produce and
when. On January 11, 2019, Plaintiffs inquired as follows:

Are you searching for documents that already exist with the requested information

compiled in the manner requested? Or are you trying to determine whether the

financial information sought exists in Cox’s financial records? We have no doubt

the latter exists, and it must be produced, Given that the information is called for

in both document requests and interrogatories, Cox may not withhold the

information based on the contention that a ready-made document with the requested

information does not presently exist. As Cox knows the subscribers who are the

subject of Plaintiffs’ notices, it can run a report to produce the associated financial
information for their accounts.

 

! Though Plaintiffs’ initial requests sought both revenue and profit, this motion seeks only revenue information.
? Exhibits cited herein refer to Exhibits to the Gould Declaration, filed in support of this motion.

 

 
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(Ex, P.) More than three weeks later on January 31, 2019, Cox finally responded, claiming for the
first time that it does not maintain or track revenue on a per-subscriber basis. (Ex. R.)

In a subsequent meet and confer on February 1, 2019, Plaintiffs made clear that if Cox does
not track profits by subscriber, Plaintiffs agree to narrow the request to revenue information only.
Gould Decl., 1 5. During that meet and confer, Cox appeared not to object on the basis of relevance
any longer and articulated no meaningful burden. fd Now, Cox’s position appears to be that it
does not maintain and cannot track revenue per subscriber. Jd.

b. Revenue From Infringing Subscribers Is Highly Relevant

Plaintiffs seek per-subscriber revenue information because it is relevant to a number of
issues including, but not limited to, the financial benefits that Cox received from Cox subscribers
identified in Plaintiffs’ infringement notices. In addition to being relevant to the financial-benefit
element of vicarious infringement, the information is relevant to a jury’s assessment of statutory
damages and willfulness. With this information, Plaintiffs can correlate Cox’s knowledge of a
subscriber’s infringing activities with payments received by Cox from that subscriber. For
example, if Plaintiffs sent Cox multiple infringement notices regarding a certain subscriber from
January to June 2014, and the subscriber continued to pay for Cox’s services through 2017, a jury
should consider that information in assessing statutory damages. To the extent Cox back pedals
and objects on relevance grounds, such objection should be overruled.

c. Cox Should Not Be Allowed to Back Pedal on Its Response

Other than boilerplate objections, Cox’s written objections do not articulate any burden in
producing it. In its written discovery responses on December 4, 2018, Cox even agreed to produce
the revenue information (as well as profit information), limited to Plaintiffs’ claim period, “to the

extent Cox finds such documents within its possession, custody, or control after undertaking a

 

 
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reasonable and diligent search.” (Ex. A.) Plaintiffs bring this motion because more than eight
weeks after Cox expressly indicated its agreement to produce the records, and after many letters
and attempted calls to discuss it, Cox now claims it does not maintain the information and cannot
produce it. Plaintiffs find this simply implausible. A company of Cox’s size, sophistication, and
profits has records of what services it provided to subscribers and what it billed those subscribers.
Indeed, Cox’s counsel confirmed this. Gould Decl., 95. It must likewise have records reflecting
payments received from subscribers. To minimize any potential burden, Plaintiffs are flexible as
to the particular documents that Cox produces, as long as they contain the requested revenue
information.

TE =©6E-mails and Communications Concerning Cox’s Responses To and Attitude
‘Towards Infringement Notices

Cox should be ordered to produce emails and communications concerning its responses to,
handling of, and attitude towards infringement notices from 2010 through 2014.

A number of specific discovery requests that target this information are outlined below.
Cox has limited its response to only documents directly relating to Plaintiffs’ infringement notices,
Plaintiffs’ works in suit, and Plaintiffs’ claim period. Beyond boilerplate recitations, Cox does not
object on the basis of burden. Rather, it simply attempt to limit its production to exclude key
responsive documents.

a. Plaintiffs’ Requests and Cox’s Responses

On November 19, 2018, Plaintiffs requested the following categories of documents
concerning Cox’s handling of and attitude towards handling infringement notices from 2010
through 2014:

Request No. 10: All documents concerning alleged copyright infringement by your
Subscribers or Users or through your internet service.

 
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Request No. 23: All communications with your Subscribers or Users concerning copyright or
alleged infringement, including but not limited to communications concerning Infringement
Notices and documents sufficient to show the number, nature, date and content of such
communications.

Request No. 26; All documents concerning analyzing, assessing, investigating or responding
to an Infringement Notice, including but not limited to actions considered or taken in response
to any Infringement Notice. To the extent such actions have changed over time, this Request
calls for documents sufficient to show any such change and the time such change occurred.
Request No, 38: All documents concerning any investigation by Defendants into any
allegation of copyright infringement by Subscribers or Users, including but not limited to
documents concerning Defendants’ identification of Subscribers or Users alleged to have
infringed one or more copyrights, and efforts to determine if any Subscribers or Users
infringed copyrights using Defendants’ internet service.

Request No. 39: All documents concerning the suspension or termination of internet service
to any Subscriber or User relating to copyright infringement or violation of any provision of
any DMCA Policy, Acceptable Use Policy, Repeat Infringer Policy, or any other policy
related to copyright infringement.

Cox objected to each of these requests and agreed to produce only documents relating to
Plaintiffs’ notices and works, during Plaintiffs’ claim period. (Ex. C.) Plaintiffs have asked Cox
in numerous letters and calls to articulate a basis for its overly-restricted response. Gould Decl., |
6. Without explanation, Cox merely restated its view that documents outside of Plaintiffs’ claim
period or notices are not relevant, and cites the Court’s denial of Plaintiffs’ request for all
infringement notices Cox received from any party. (Ex. R.) Plaintiffs also asked Cox to discuss
reasonable search terms it would use to identify relevant documents, but Cox has refused to provide
them. Gould Decl., ¥ 6.

b. The Court Overruled the Same Relevance Objections in the BMG Case

In the BMG case, this Court rejected the precise limitations Cox has imposed here. BMG

v. Cox, Case No. 1:14-cv-1611, ECF No. 1018 at 2 (attached hereto as Ex. F). There, the Court

denied Cox’s motion to exclude as irrelevant Cox’s emails from prior to the claim period,

concerning works not in suit, regarding notices from other copyright holders. Critically, the Court

 

 
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held that emajls evidencing “Cox’s overall system for addressing infringement (including evidence
showing that Cox knew of a high probability that users identified in infringement notices were in
fact infringers and evidence showing that Cox did not want to see infringement notices because it
did not want to take action against subscribers is relevant to whether Cox consciously avoided
learning about specific instances of infringement.” fd The Court found such emails to be “highly
probative on the issue of willfulness and willful blindness,” even though they pre-date the claim
period and do not involve the plaintiffs’ notices or works, /d. at 1.

The Court explained that “Cox should not be able to characterize its response to
infringement notices as made in good faith while preventing the jury from seeing evidence to the
contrary.” Jd It further explained that “Cox’s internal policies and procedures related to
infringement were of course established prior to [the claim period], and it is those policies and
procedures that Cox applied when it received notices of infringement for BMG’s work at issue.
The emails are therefore relevant to the question of whether Cox blinded itself to infringement of
specific BMG works.” fd. at 2-3. In this case as well, Cox should not be able to hold back relevant
evidence that may show extensive evidence of its practice of ignoring infringement.

c. Cox Is Withholding Highly Relevant Documents

The limitations Cox has imposed here would omit from production critical documents that
Plaintiffs are aware of only from the BMG case. While Plaintiffs now have access to the BMG
trial exhibits, they have no idea what else Cox is hiding about its handling of and attitude towards
infringement notices. A few powerful examples of the types of responsive documents that Cox

seeks to improperly exclude from its production are described below.’

 

> Once again, Plaintiffs dispute the confidentiality designations of the exhibits cited herein, which were used publicly
in the BMG trial and admitted into evidence in that public proceeding. As Plaintiffs are required to do, however, they
move to file them under seal because Cox continues to assert confidentiality over them. Each of these exhibits was

 

 
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First, there are emails from Cox’s employees, Jason Zabek and Joseph Sikes, explaining
Cox’s decision to limit copyright holders to 200 notices per day and blacklist others. Messrs.

Zabek and Sikes explain their attitude ag

 

(Ex. G.) These emails
do not specifically mention Plaintiffs’ works or notices and thus would not be produced by Cox
under its restrictive approach. But such documents are highly relevant, direct evidence of Cox’s
intent, willful blindness to its subscribers’ infringement, and disregard for copyright.

Second, the BMG trial exhibits also include emails that show Cox not terminating repeat

infringers in order to preserve the revenue associated with their accounts. In August 2010, Mr.

Zabek told the abuse team that repeat infringers would receive a Pe

Pe (Ex, O.) He further instructed his team in April 2010
ES ¢:s.), in ony 2010 to
1), and in March

20118

 

| (Ex. N.) Each of these
critical emails was outside BMG’s claim period and none concerned BMG’s notices or works, yet
the Court admitted them over Cox’s relevance objections. Each would be withheld from

production in this case under Cox’s narrow responses (but for the Court’s order to produce the

BMG trial exhibits).

 

offered into evidence for the jury’s consideration and became “simply by virtue of that event, subject to the public
right of access guaranteed by the First Amendment.” Level 3 Comme’ns, LLC v. Limelight Networks, Inc., 611 F.
Supp. 2d 572, 589 (E.D. Va. 2009). Moreover, Cox waived objections to the right of public access when it allowed
the exhibits to be admitted without attempting to limit their disclosure. See Limelight Networks, 611 F. Supp. 2d at
583 (An entity seeking to seal a “document after its use or admission can be held to have waived its right to assert a
continuing interest in the document in opposition to the presumptive right of access.”) (emphasis original). Morcover,
much of the material redacted from this memorandum was also included in a publicly-filed brief in the BMG case.
See BMG ECF No, 974,

 

 
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Third, Joseph Sikes, a former security administrator, likewise explained that f

xs, 1, ee

 

RE (2x. 1.) Although these emails are dated 2014 and thus within
Plaintiffs’ claim period, none of them mention Plaintiffs’ works or Plaintiffs’ notices and so would
have been withheld by Cox. Plaintiffs have them only because of the Court’s order to produce the
BMG trial exhibits.

This Court admitted all of these emails over Cox’s objection, though none concerned
BMG’s notices or works and many predated the claim period. The same rationale applies here and
supports the discovery. Cox should be ordered to produce emails and communications concerning
its response to, handling of, and attitude towards infringement notices, for the period 2010 through
2014. As it does so, Cox should also be transparent with Plaintiffs about the custodians and search
terms it uses and any subsequent decisions it makes as to responsiveness.

Il. Copyright Infringement Notices Involving the Same Cox Subscribers in
Plaintiffs’ Notices

Cox should be ordered to produce documents sufficient to show all infringement notices

(from any rights holder) that identify or reference a Cox subscriber listed in infringement notices

 

 
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from Plaintiffs, for the years 2011 through 2014. If Cox was on notice through other sources that
the very same subscribers were pirating copyrighted works, Cox had full knowledge that
subscribers’ infringing activities. A jury should know if Cox knew that specific subscribers were
infringing before Plaintiffs’ claim period (or apart from Plaintiffs’ notices), but continued to
provide the service used to infringe Plaintiffs’ rights. A jury is entitled to consider this information
in connection with assessing liability, awarding statutory damages, and deciding whether Cox
infringed willfully.

The Court previously determined that a request to compel Cox to produce ail infringement
notices was too broad. (Ex. E at 23:21-24:5.) In that motion hearing, however, the Court also
indicated that it might nonetheless require Cox to produce third-party notices involving the same
subscribers identified in Plaintiffs’ notices. Ud. at 24:6-25:1.) Specifically, the Court indicated it
might reach a different resuit if ruling on “a motion relating to those subscribers that [Plaintiffs]
have identified as to any other notices received from others[.]” As the Court explained:

Obviously, this is something that I’ve, you know, indicated that I would consider requiring

them to possibly produce notices of infringement from other parties that are directly related

to the claims in this case, but not every notice of infringement for a five-year period of

time.

(Id. at 24:6-25:1.)

Plaintiffs’ original document requests, served on November 19, 2018 sought “All
Infringement Notices received by Defendants from any rights holder.” (Ex. A, RFP 11.) The
information sought in the instant motion is a subset of that broader request. Nonetheless, out of
an abundance of caution, Plaintiffs immediately served Cox with a narrower request to comport
with the Court’s guidance concerning third-party notices. In recognition of Defendants’ earlier

objection that the initial request did not describe the specific categories of information sought,

 
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Plaintiffs provided a detailed list of requested data. Specifically, Plaintiffs’ Second Set of Requests
for Production sought the following information for the period 2010 to 2014:

Documents sufficient to show all Infringement Notices (from any rights holder) that

identify or reference an IP address listed in any Infringement Notice from or on behalf of

Plaintiffs. Such documents should include at least the following infringement details:

* Date infringement detected;
* Date notice sent;
* Details of infringing work (i.e. title, artist, author, etc);
* Filename of infringing work;
» Filesize of infringing work;
* Hash value of infringing work;
» IP address;
¢ IP port;
¢ Network used; and
* Protocol used.
(Ex. D, RFP No, 1.) Cox does not dispute that it has this data.

In its written responses, Cox objected on relevance grounds because the request seeks
information about works and parties not in the case and outside the claim period. (Ex. D.} In
addition to meeting and conferring on this issue in response to Plaintiffs’ written discovery from
November, the parties exchanged letters on this request on January 9, 11, 28, and 31, and discussed
it further by telephone on February 1, 2019, to no avail. (Gould Decl., { 7.)

Cox does not seriously dispute the relevance of the information sought, nor could it given
its clear relevance to both liability and damages, Where a Cox subscriber that infringed Plaintiffs’
copyrights also infringed a third party’s copyrights, the third-party’s infringement notice speaks to
Cox’s knowledge of that subscriber’s infringement. Cox’s decision to continue providing service
to that subscriber, rather than terminating his or her account, is something the jury should also

consider when deciding damages and willfulness. Cox completely ignored the Court’s guidance

and continued to stonewall on an issue that the parties have been discussing since November.

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Following yet even more meet and confers, however, Cox appears not to stand on its relevance
objection any longer. Gould Decl., { 7.

Cox’s current position is that the request poses too significant of a burden. However,
mindful of Cox’s prior concern that pulling actual notices would be unduly burdensome, Plaintiffs
already tailored the request further by seeking merely “documents sufficient to show” the above
information. Plaintiffs took that approach so that Cox could respond by producing a spreadsheet
with data from its Copyright Abuse Tracking System instead of collecting, reviewing and
producing thousands (or more) infringement notices. Cox must be able to lookup a subscriber in
its Copyright Abuse Tracking System and pull records identifying the number of infringement
notices it received concerning that subscriber and the dates. Again, Plaintiffs are flexible as to the
particular documents that Cox produces, along with the format, as long as they contain the
requested information. Though Cox recently proposed the notion of providing a sample of the
requested information, it could not articulate what such sample would look like, when it could
provide an example, or for how many subscribers it would provide the information. Gould Decl.,
7. Plaintiffs cannot let these issues remain unresolved, otherwise the clock will run out on

discovery and Plaintiffs’ ability to prepare their case.

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Dated February 1, 2019

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Respectfully Submitted,

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